Case 2:20-cv-10249-SK Document 58 Filed 07/08/22 Page 1 of 1 Page ID #:1000

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No.        CV 20-10249-SK                                              Date: July 8, 2022
Title         Brian Lugrain v. EKO North America, Inc., et al




Present: The Honorable: Steve Kim, United States Magistrate Judge


                   Connie Chung                                        n/a
                   Deputy Clerk                              Court Reporter / Recorder

        Attorneys Present for Plaintiff(s):            Attorneys Present for Defendant(s):

                   None present                                    None present


Proceedings:           (IN CHAMBERS) ORDER TO SHOW CAUSE RE SANCTIONS

       Plaintiff and his counsel are ordered to show cause why sanctions should not be
imposed for failure to comply with the Court’s settlement conference order (and for
ignoring the courtroom deputy clerk’s communications about the settlement
conference). Their written response, with declarations submitted under penalty of
perjury, are due by no later than 12 PM on Monday, July 11, 2022. Failure to
comply with this order may lead to additional sanctions. Meanwhile, the settlement
conference set for July 13, 2022 (via Zoom) is vacated. Counsel for defendants who
prepared and signed their confidential settlement conference statement is requested to
submit a declaration, also by no later than Noon on July 11, outlining that counsel’s
actual billed hourly rate and the number of hours expended to prepare defendants’
written confidential statement.




CV-90 (03/15)                          Civil Minutes – General                           Page 1 of 1
